      Case 2:12-cr-00322-JAM Document 102 Filed 07/09/14 Page 1 of 1

 1 RICHARD E. NAHIGIAN (SBN 45675)
     Attorney at Law
 2 1122 East Green Street
     Pasadena, California 91106
 3 Telephone: (626) 683-3991
     Facsimile: (626) 796-2554
 4
     Attorney for Defendant
 5 HOVIK MKRTCHIAN
 6
 7                                UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
      THE UNITED STATES OF AMERICA,                   ) CASE NO.: 2:12-cr-0322MCE
10                                                    )
                        Plaintiff,                    )
11                                                    ) ORDER PERMITTING TRAVEL FOR
      v.                                              ) DEFENDANT HOVIK MKRTCHIAN
12                                                    )
      HOVIK MKRTCHIAN,                                )
13                                                    )
                                                      )
14                     Defendant.                     )
                                                      )
15                                                    )
                                                      )
16
17          Good cause having been shown; it is hereby ordered that defendant Hovik Mkrtchian be
18 given permission to travel to Lake Mead, NV from the dates July 5 to July 7 inclusive. In the
19
     future, Defendant is directed to submit any such requests not later than ten (10) days prior to his
20
     first requested travel date. Failure to do so may cause future requests to be denied.
21
            IT IS SO ORDERED.
22
23 Dated: July 8, 2014
24
25
26
27
28
                                                       1
29                                   ORDER PERMITTING TRAVEL
30
